                          Case
         A 0 199A (Rev. 3/87) Order1:05-cr-00242-OWW
                                   Setling Conditions of Release   Document 56 Filed 12/06/05 Page 1 Page
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                                                                   DISTRICT OF



                     UNITED STATES OF AMERICA

                                                                                  ORDER SETTING CONDITIONS
                                       v.                                                OF RELEASE
         -                                                                    Case Number:

                                   Defendant


                   IT IS ORDERED that the release of the defendant is subject to the following conditions:

                     (1) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
                         case.

                     (2) The defendant shall immediately advice the court, defense counsel and the U.S. attorney in writing of any
                         change in address and telephone number.

                     (3) The defendant shall appear at all proceedings as required and shall surrender

                           imposed as directed. The defendant shall next appear at (if blank, to be notified)

                            /I3 0 ' a 1~ ' h - -&.
                                                 d-&!~S;                                                               Place

                                                                                          Date and T m e
                                                                                                             ace?&
                                                                                                            /d.'30pw
                                         Release on Personal Recognizance or Unsecured Bond
                  IT IS FURTHER ORDERED that the defendant be released provided that:

          (   J ) (4) The defendant promises to appear at all proceedings as required and to surrender for service of any sentence
                        imposed.

          (       ) ( 5 ) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of

                                                                                                   dollars ($                          1
                        in the event of a failure to appear as required or to surrender as directed for service of any sentence imposed.




W H I T E COPY   - COURT        YELLOW - DEFENDANT            BLUE   - U . S . ATTORNEY   PINK - U.S. M A R S H A L   GREEN    - PRETRIAL SERVICES
             Case 1:05-cr-00242-OWW Document 56 Filed 12/06/05 Page 2 of 3
                                     AMENDED
HALLENGER. J O ~ "       ADDITIONAL CONDITIONS OF RELEASE
05-0242 OWW'
             U p o n finding t h a t release by o n e o f t h e a b o v e m e t h o d s w i l l n o t b y itself r e a s o n a b l y a s s u r e t h e a p p e a r a n c e o f t h e d e f e n d a n t
a n d t h e safety o f o t h e r p e r s o n s a n d t h e c o m m u n i t y , i t is F U R T H E R O R D E R E D t h a t t h e release o f t h e d e f e n d a n t is s u b j e c t to t h e
conditions m a r k e d below:

( )          (6)          T h e d e f e n d a n t is placed i n t h e c u s t o d y of:

                          N a m e of p e r s o n or o r g a n i z a t i o n    NONE
w h o a g r e e s (a) to s u p e r v i s e t h e d e l e n d a n t in a c c o r d a n c e w i t h all conditions of release,
(b) to use e v e r y effort to a s s u r e t h e a p p e a r a n e e o f t h e d e f e n d a n t a t all scheduled c o u r t proceedings, a n d (c) to notify t h e c o u r t
immediately in t h e event t h e d e f e n d a n t violates a n y conditions of release or disappears.

                          SIGNED:
                                                    C U S T O D I A N OR P R O X Y

             (71          The defendant shall:
             ( )          (a)       maintain or actively seek employment, and provide proof thereof to the PSO upon request.
             ( )          (b)       maintain or commence an educational oroeram. .
             :\I          (C)       ah13ch\ the b l l o ~ i n errrtr~:tioni&pcr,onal         a,s\~cint~~)n..
                                                                                                          d a c e ~I'abuJu.3r tr:<vc.l.
                                    K c d e 31 a re\idcnrc .tpnro\cd h+ Prutri.ll Scntrcs. 2nd POI m o w .>rhe ah\cnt frun~t t i n ~rt>~dcncc.tor more than 24 hrr.
                                    without prior approval of PSO.
                                    avoid all contact with the following named persons, who are considered either alleged victims or potential witnesses:
                                   .unless in the presence of eounsel or otherwise approved in advance by the PSO.
                                    report on a regular basis to the following agency:
                                    Pretrial Serviees and comply with their rules and regulations.
                                    comply with the following curfcw;
                                    refrain from possessing a fiream, destructive device. or other dangerous weapon.
                                    refrain from excessiveuse ofalcohol. andany use or unlawful possession ofanarcoticdrug and other controlled substances
                                    defined in 21 USC $802 unless prescribed by a licensed medical practitioner.
                                    undergo medical or psyehiatric treatmcnt andtor remain in an institution, as follows: Including treatment for drug andlor
                                    alcohol dependcncy, and pay for eosts as approved by the PSO.
                                   execute a bond or an agreement to forfeit upon failing to appear or failure to abide by any of the conditions of release. the
                                    following sum of money or designated property:
                                    post with the court the following indicia or ownership of the above-described properly, or the following amount or
                                    perccntage of the above-described money:
                                   execute a bail bond with solvent sureties in the amount of S
                                    return to custody each (week)day as of o'clock after being released each (week)day as of o'clock for employment,
                                   schooling, or the following limited purpose(s):
                                   surrender any passport to the Clerk, United States District Court.
                                    obtain no rrassport d u r i -n ~the .pendencv of this case.
                                    all Drevio;sly brdered conditions of reiease not in conflict with this order remain in full force and effcct.
                                                                                      -
                                    submit to drueu and!or alcohol testine as directed bv PSO.
                                    repon any prescriptions to PSO within 48 hours of rcceipt
                                    p&icipa~e~none~fthefollowinghomeconfinementpro~amcomponentsand                      abideby allthe requirementsof the program
                                    which (,,I will or I. .) will not include electronic monitorine or other location verification system.
                                    ( j (ij Curfew. You are restricted to your residencc c v e v day ( )from                            to -              ,or
                                                 ( ) as directed by the Pretrial Services office or supervising offtcer; or
                                    ( ) (ii) Home Detention. You are restricted to your residence at all times except for employment: education;
                                                 religious services; or mental health treatment; attorney visits; court appcarances: court-ordered obligations;
                                                 or other activities as pre-approved by the Pretrial Services office or supervising officer; or
                                   ( ) (iji) Home Incarceration. You are restricted to your residence at all times except for medical needs or treatment,
                                                religious services, and court appcarances pre-approved by the Pretrial Serviees office or supervision officer.




(Copies to: Defendant, US Attorney, US Marrhul, Preuial Services)
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A 0 199C (Rdv. 4191)Advice of Penalties . . .                                                                     page
   -
                                                     Advice of Penalties and Sanctions
TO THE DEFENDANT:
       YOU ARE ADVISED O F THE FOLLOWING PENALTIES AND SANCTIONS:
     A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest.
a revocation of reIease, an order of detention. and a prosecution for contempt of court and could result in a term of imprisonment,
a fine, or both.
     The commission of any crime while on pre-trial release may result in an additional sentence to a term of imprisonment of
not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a
misdemeanor. This sentence shall be in addition to any other sentence.
     Federal law makes it a crime punishable by up to five years of imprisonment, and a $250,000fine or both to intimidate or
attempt to intimidate a witness. victim, juror, informant or officer of the court, or to obstruct a criminal investigation. It is also
a crime punishable by up to ten years of imprisonment, a 5250,000fine or both, to tamper with a witness, victim or informant,
or to retaliate against a witness, victim or informant, or to threaten or attempt to do so.
     If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
     ( I ) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be
           fined not more than $250,000or imprisoned for not more than ten years. or both;
     (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined
           not more than $250,000or imprisoned for not more than five years, or both:
     (3) any other felony, you shall be fined not more than $250,000or imprisoned not more than two years, or both;
     (4) a misdemeanor, you shall be fined not more than $100.000 or imprisoned not more than one year, or both.
     A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense.
In addition, a failure to appear may result in the forfeiture of any bond posted.

                                                     Acknowledgement of Defendant
    1 acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of the penalties
and sanctions set forth abdie.




                                                                                                           Address


                                                                                     City and State                              Telephone




       /'
( V f ~ h defendant
          e
                                                    Directions to United States Marshal
                    is ORDERED released after processing.
( ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judicial officer that
        the defendant has posted bond andfor complied with all other conditions for release. The defendant shall be produced before
                               1 officer at the lime and place specified, if still in cust


                                                                                         G i g n a t u r e w u d i c i a l Officer

                                                                                     L r e n m                 T: O U b eIIi
                                                                                           Name and Title of Judicial Officer




w r r COPY
      ~ - COURT                   YELLOW. DEFENMT            BLUE   - u s ATTORNEY        PINK   - U.SLURSWL             GREEN. PRETWALSERVICES
